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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ALEX YOUNG,                                  )
                                             )
             PLAINTIFF                       ) Civil Action No. 1:14-cv-1203
     vs.                                     )
                                             )
RICHARD SARLES,                              )
                                             )
                                             )
             DEFENDANT                       )
                                             )


 STATEMENT OF FACTS AS TO WHICH THERE EXISTS NO GENUINE DISPUTE


  1. The WMATA Use Regulations designate certain areas of its stations for free-speech

     activities, but prohibit commercial activities in the free-speech areas. (Answer ¶¶ 22-24)

  2. Bruce Heppen wrote a letter to Plaintiff’s counsel Douglas McKusick, and this letter sets

     forth the position of WMATA. (Answer ¶ 26.)

  3. Mr. Young has stated his desire to busk on the public forum areas of WMATA stations,

     more than fifteen (15) feet from any escalator, stairwell, faregate, mezzanine gate, kiosk,

     or fare card machine and without interfering with egress or ingress. [ECF dkt: 2-1.]

  4. Mr. Young has stated a particular message he wishes to convey by playing music with an

     open guitar case. [ECF dkt: 11-1.]

                                           /s/ Jeffrey Light




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